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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Southern District
                                                  __________ Districtof
                                                                      ofIndiana
                                                                         __________

                  United States of America
                             v.
                                                                     )
                                                                     )
                                                                                                          6($/('
                                                                     )       Case No.
                                                                     )                  1:23-mj-403-MJD
                    Austin Ryan Lauless                              )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              July 2021 - September 2022          in the county of               Boone          in the
     Southern          District of             Indiana          , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. §§ 2422(b); and 2251(a)                Coercion and Enticement of a Minor; and Sexual Exploitation of a Minor




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                                  /s/ Darin Odier
                                                                                               Complainant’s signature

                                                                                               TFO Darin Odier, FBI
                                                                                                Printed name and title

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      telephone                   UHOLDEOHHOHFWURQLFPHDQV

Date:    May 18, 2023


City and state:                          Indianapolis, IN
                                                                         Mark J. Dinsmore
                                                                         United States Magistrate Judge
                                                                         Southern District of Indiana
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                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

         I, Darin Odier, being duly sworn, hereby depose and state as follows:

         1.     Affiant: I am a Detective in the Internet Crimes Against Children Unit

   (“ICAC”) of the Indianapolis Metropolitan Police Department. I am also a cross-

   designated Task Force Officer assigned to the Federal Bureau of Investigation

   (“FBI”), within the Indianapolis Child Exploitation Task Force.

         2.     Experience: I have more than 34 years of law enforcement experience.

   I have investigated State and Federal criminal violations related to high technology

   or cybercrime, child exploitation, and child pornography. I have written hundreds of

   search warrants involving internet crimes against children cases and participated in

   their execution.

         3.     Training: I have attended and presented at the National Crimes

   Against Children Conference multiple times and attended numerous classes related

   to investigating the online sexual exploitation of children. I am also a member of the

   Indiana Internet Crimes Against Children Task Force, which includes numerous

   federal, state, and local law enforcement agencies. I am currently assigned to operate

   in an undercover capacity on the Internet to identify and investigate persons

   attempting to exploit or solicit sexual acts with children or trafficking in child

   pornography. As a Task Force Officer, I am authorized to investigate violations of

   the laws of the State of Indiana and of the United States and to execute warrants

   issued under the authority of the State of Indiana and of the United States.




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         4.     Information provided: The statements in this affidavit are based on

   information obtained from my observations and communications, as well as

   information learned from other law enforcement officers and witnesses. Because this

   affidavit is being submitted for the limited purpose of securing an arrest warrant and

   criminal complaint, I have not included each and every fact known to the

   investigators concerning this investigation.     I have set forth only the facts that I

   believe are necessary to establish probable cause that Austin Ryan Lauless

   (“Lauless”) has committed a criminal offense.

         5.     Probable Cause: For the reasons listed below, there is probable cause

   to believe that Austin Ryan Lauless DOB xx-xx-1994 (known to affiant, but

   redacted) has committed the following offense in the Southern District of Indiana and

   elsewhere:

          A. Count 1 : Coercion and Enticement of a Minor: 18 U.S.C. § 2422(b):

              Between on or between July 2021, and on or about September 2022, within

              the Southern District of Indiana, and elsewhere, Austin Ryan Lauless

              did use the mail or any facility or means of interstate or foreign commerce,

              or within the special maritime and territorial jurisdiction of the United

              States to knowingly persuade, induce, entice, or coerce Minor Victim 1 who

              has not attained the age of 18 years, to engage in any sexual activity for

              which any person can be charged with a criminal offense, namely, Indiana

              Code 35-42-4-4 (b)(1), (Child Exploitation/Production of A Digitized Image




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              that Includes Sexual Conduct by a Child under 18 years of Age) and

              attempted to do so.

          B. Count 2: Sexual Exploitation of a Minor: 18 U.S.C. § 2251(a):

              Between on or between July 2021, and on or about September 2022, within

              the Southern District of Indiana, Austin Ryan Lauless did knowingly

              employ, use, persuade, induce, entice, or coerce Minor Victim 1, a child

              who is less than 18 years of age, to engage in sexually explicit conduct for

              the purpose of creating a visual depiction of such conduct, knowing or

              having reason to know that such visual depiction will be transported or

              transmitted using any means or facility of interstate or foreign commerce

              or in or affecting interstate or foreign commerce or mailed, if that visual

              depiction was produced or transmitted using materials that have been

              mailed, shipped, or transported in or affecting interstate or foreign

              commerce by any means, including by computer, or if such visual depiction

              has actually been transported or transmitted using any means or facility

              of interstate or foreign commerce or in or affecting interstate or foreign

              commerce or mailed and attempted to do so.

               PRESENT INVESTIGATION AND PROBABLE CAUSE


         6.     On September 23, 2022, officers with the Zionsville Police Department

   were dispatched to an address in Zionsville, Indiana, to interview a caller who had

   been made aware of a video posted to Twitter depicting a local 15 year old female.




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   According to the caller, she had viewed the video on Twitter and recognized the minor

   child to be Minor Victim 1 (“MV1”) whom the caller knows personally.

           7.       MV1 is a child living in Zionsville who was born in April 2007.

           8.       Zionsville, Indiana is in the Southern District of Indiana.

           9.       Officers contacted Detective Thomas Beard (“Det. Beard”) of the

   Zionsville Police Department. Det. Beard instructed the officers to view the video

   with their body cameras activated so that it could preserved in a secure manner, and

   they followed his instructions. 1

           10.      Det. Beard and I have reviewed the officers’ body worn camera video and

   observed a video depicting MV1 engaged in sexually explicit conduct. Based on my

   training and experience, the video constitutes child sex abuse material (referred to

   by federal statute as child pornography) in that it depicts MV1’s genitals, including

   her vagina.

           11.      In September 2022, MV1 was forensically interviewed at a child

   advocacy center. During the interview, MV1 disclosed the following information:

             A. According to MV1, she met a male online using the social media application

                 Snapchat in or around May 2021. At this time she lived near St. Louis,

                 Missouri and was 14 years’ old.




   1
    Det. Beard was familiar with Twitter, and knew that videos posted on Twitter could be deleted or removed before
   officers would be able to obtain a search warrant on the account. Accordingly, to preserve evidence of a potential
   crime against a child, he instructed officers to use their body cameras to memorialize what had been posted.

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         B. During their messaging, the male identified himself as “Cason

            Frederickson,” who claimed to be a 16-17 year old male living in New York

            (officers have since identified the male as Lauless).

         C. The male identifying himself as “Cason” sent MV1 images of a young male

            claiming that the images depicted him.

         D. Eventually, MV1 and “Cason” began communicating on the Discord

            application. MV1 stated that the male’s Discord profile picture depicted

            the same male from whom she received images over Snapchat.

         E. “Cason” began asking MV1 for sexually explicit images, which she

            produced and sent to him.

         F. According to MV1, when she told “Cason” that she wanted to stop

            creating/sending the sexually explicit images, “Cason” threatened to

            disseminate the content if she didn’t comply.

         G. MV1 provided the male’s Discord account name of “Apophis” and her

            Discord account name of “kittennnnXX” (redacted, but known to the

            affiant).

         H. According to MV1, “Cason” used the Discord application to direct her to

            perform sexual acts, including what to say and the specific items of

            clothing she should wear.

         I. According to MV1, she did not want to comply, but Cason threatened to

            disseminate her sensitive images and videos if she failed to send new

            material.



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          J. While still living in Missouri, MV1 gave “Cason” her physical address.

               “Cason” then mailed MV1 at least one package via the United States Postal

               Service. The package contained sex toys, clothing, accessories (wigs,

               eyelashes), which he told MV1 he wanted her to wear in the videos she

               produced at his direction. MV1 recalled that the return address indicated

               that the package had been sent by “Austin Frederickson.”

          K. After moving to a residence in Zionsville, Indiana, which is within the

               Southern District of Indiana, MV1 began a relationship with a local

               juvenile male.

          L. According to MV1, “Cason” wanted MV1 to record herself engaging in

               sexual acts with her juvenile boyfriend, but she refused to do so.

          M. MV1 stated that after she moved to Zionsville, “Cason” continuously

               messaged her demanding more sexually explicit material. When MV1

               stopped communicating with “Cason” he began messaging individuals

               whom MV1 knows personally.

         12.      On October 3, 2022, Det. Thomas Beard was authorized to search the

   content and account information for the Discord account under the username

   “Apophis” by Boone County Judge Matthew Kincaid (06D01-2210-MC-001793).

         13.      Discord, Inc. responded with billing information, as well as a log of

   Internet Protocol Addresses (IP addresses). This information yielded the following

   information:




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             A. User’s Name: Austin Lauless

             B. Address: 501 South Broadway Street, #208 Joshua, Texas 76058

             C. Phone Number: 817-404-8074

             D. IP Address: 108.160.176.70

             E. Verified email address: zer0graphicarts@gmail.com

             F. Payment type: Visa ending in 4060

           14.      Snapchat is a social networking website and Discord is a VoIP and

   instant messaging social platform. Snapchat and Discord operate over the Internet,

   and are facilities of interstate commerce.2

         Discord Messages between the Account Apophis (Lauless) and MV1

           15.      I have reviewed the Discord messages between Lauless (using the

   account “Apophis”) and MV1 (using the account “kittennnnXX”). As set forth in more

   detail below, in the Discord messaging, Lauless demanded sexually explicit images

   and videos depicting MV1, and instructed MV1 on precisely what she should do in

   the images and videos.

           16.      According to the search warrant return, the messages begin on May 30,

   2021, and end on September 29, 2022.

           17.      On or about July 2021, MV1’s family moved to a residence in Zionsville

   which is within the Southern District of Indiana.




   2 VoIP is Voice Over Internet Protocol, a method and group of technologies for the delivery of voice
   communications and multimedia sessions over Internet Protocol networks, such as the Internet.

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         18.    The following are examples of messages between MV1 and Lauless,

   using the Discord account “Apophis,” that occurred while MV1 lived within the

   Southern District of Indiana:

         A.     On September 28, 2021, at 02:40:52, Lauless messaged MV1 stating

   that he wanted “some pics and videos in the fishnet outfit I got you.”

         B.     The following messages begin on November 15, 2021 at 23:43:42 and end

   on the same day at 23:46:57:

         Lauless (using the account Apophis) – “why did you delete me”

         MV1 – “because I want to rid of”

         Apophis - “what”

         MV1– “I don’t want to do this”

         Apophis – “I don’t care”

         MV1 – “no”

         Apophis - “you want your friends to find out”

         MV1 – “no”

         Apophis – “you sure…hmm?”

         MV1 – “yes I am sure”

         Apophis – “are you going to listen then?”

         MV1 – “I guess”

         Apophis – “I just want 30 more videos…then you can block me…everywhere”

         MV1 – “thirty”

         Apophis – “you’ve been bad. You deleted me. Didn’t follow through last time”



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         C.    The messages from Lauless to MV1 on November 15, 2021 continued:

         “you have 20 mins. I want at least 5 vids. Make them at least 3 mins each. I’m

         not gonna tell you what to do. You know what I like. Fuck yourself. Strip. Be

         cute and sexy. Use your fishnets and stuff too”

         “make two in the shower…send those and I’ll give you 15 mins to shower…ok”

         “try to talk in them too…call me daddy and stuff”

         D.    On November 16, 2021, Lauless messaged MV1:

         “Make 2, then study, then make the other 3…different positions too…and talk

         to me a lot…doggy with your back arched really good…another cute outfit strip

         and then fuck yourself hard…sideways too… do your makeup cute too please.”

         E.    On November 17, 2021, Lauless told MV1 to “wear your pink socks and

   paci (pacifier)…so paci, long pink socks, on your knees, rubbing your pussy and age

   play and daddy talk. Oki?”

         F.    On November 19, 2021, Lauless sent MV1 links to the pornographic

   website “PornHub,” seemingly to give MV1 ideas for her own videos.

         G.    On January 17, 2022, Lauless asked MV1, “you’re not open to fucking

   your boyfriend.” MV1 stated that she did not want to do that, and Lauless asked,

   “would you let me watch you suck his dick?”

         H.    During the messages, Lauless coerced MV1 to continue to produce

   sexually explicit images and videos of herself, and included how many videos he

   wanted, and what she had to do during the videos.




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           I.    On March 7, 2022 at 19:12:29, Lauless told MV1 to “put on some sexy

   music and very slowly strip naked, then tease a bit, then finger yourself in different

   positions, and then finish off by fucking yourself with your brush.”

           J.    In the messages, MV1 indicates that she knows that sexually explicit

   videos and images of her are online and that people at her school are talking about

   them.

           19.   On October 11, 2022, Det. Thomas Beard was granted a subpoena

   (06C01-2210-MC-001818) by Boone County Judge Lori Schein for the suspect’s (now

   identified as Lauless) IP address records for 108.160.176.70 for the time period April

   8, 2022 to September 29, 2022.

           20.   According to the returns, the IP address was serviced by Alenco

   Communications in Joshua, Texas. Alenco responded with subscriber information,

   which identified the account owner as the Motel 6 in Joshua, Texas. The address

   listed for the Motel 6 (501 South Broadway Street in Joshua) was the same as

   Lauless’ address through the Discord return.

           21.   This affiant requested and received a subpoena for Motel 6 d/b/a/ G6

   Hospitality LLC for the following information: Any and all guest information for

   Austin Ryan Lauless at the Motel 6 located at 501 South Broadway St Joshua, TX

   76058 including but not limited to: Date(s) of stay, room number(s), method(s) of

   payment, phone number, email address, vehicle information, other guests staying

   with him.




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           22.      On April 28, 2023 this affiant received contents of the response. Below

   is a summary of the response: Austin Lauless was a registered guest at the Motel 6

   located at 501 South Broadway St Joshua, TX76058 from January 5, 2021 to March

   11, 2023. From January 5, 2021, through February 10, 2023, Lauless was in room

   208. Payment type for several segments of his stay was a Visa ending in 4060 and

   Visa ending in 3115. The contact number for Lauless is listed on each guest folio as

   817-404-8756.

                                      Interview of Minor Victim 1

           23.      On April 17, 2023, Det. Beard and I interviewed MV1. I showed MV1

   approximately 50 videos contained in Cybertip #141191376. MV1 identified herself

   in each video and specified whether the video was produced in the Southern District

   of Indiana or Missouri. MV1 stated that each of these videos was produced by her in

   response to a request/demand from “Apophis”.

           24.      According to MV1, at least 20 of the 50 videos were produced when she

   was a resident of the Southern District of Indiana.3 I have confirmed through her

   parents that MV1 and her family moved to the Southern District of Indiana in or

   about July 2021.

           25.      MV1 also stated that she had received a package from “Cason” while she

   was living in Missouri. The package contained a sex toy (Dildo), fishnet stockings,

   eyelashes and pacifiers. Apophis directed MV1 to wear and use the items in various

   videos.


   3 Minor Victim 1 was able to tell by the background depicted in the images and videos from which location she
   produced the video or image at Lauless’ request.

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           Google Account zer0graphicarts@gmail.com Used by Lauless

         26.    On April 1, 2023, I received authorization from the Marion Superior

   Court under cause number 49036-2304-MC-009283 to search the Google E-mail

   address Zer0graphicarts@gmail.com which was provided as the verified email

   address for the Apophis Discord account.

         27.    On April 24, 2023, I received the contents of the search warrant return

   from Google. While still under review, below is a summary of my initial observations:

         A.     I observed an image depicting a Texas driver’s license for Austin Ryan

   Lauless.

         B.     There are dozens of images of a male this affiant recognizes as Austin

   Ryan Lauless.

         C.     There is a screenshot of an apartment lease in the name of Austin

   Lauless.

         D.     The Google subscriber information lists a phone number of 817-404-

   8756 (the same number provided by Motel 6).

         E.     There are hundreds of images and videos depicting females that are not

   yet fully identified, but whom I believe to be minors engaged in sexually explicit

   conduct that are similar to those I’ve seen of MV1, including images and videos

   depicting females wearing black fishnet stockings and using sex toys and pacifiers.

         F.     Some of the images are shown in collage form in screenshots that depict

   a female, a menu, and a price and the words, “DM for premium content” visible. I


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   have seen several of the sexually explicit images and videos that are depicted within

   the collage images in the Google return.

              G.       Some of the collages also have a CashApp account of $zzblehzz listed. 4

              H.       There are also screen shots of orders placed for sex toys and lingerie,

   including a screen shot depicting an order for a sex toy and the name and delivery

   address of a Minor Victim 3 (see further discussion below). I believe that this is

   consistent with the criminal tradecraft Lauless employed with MV1.

              I.       There are also multiple screen shots of online profiles of unidentified

   females that I believe are from the Discord and Yubo applications. Yubo is a French

   social media App that allows users to Chat, play games and live stream.

              J.       I also observed screen shots of Instagram and Snapchat profiles

   breh_ur_fuct and formix_official, respectively. These profiles are addressed below and

   in reference to Minor Victim 2.

              K.       Google Pay transactions show dozens of transactions using Visa cards

   ending in 3115 and 4060 (the same provided by Motel 6).

              L.       The IP address used for dozens of these transactions is 108.160.176.70.

   This is the same IP address for the Discord account for the username “Apophis.” The

   subscriber information for this IP address identified the account owner as the Motel

   6 in Joshua, Texas referenced above.




   4
       Law enforcement is in the process of obtaining data from CashApp. This investigation is ongoing.

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         M.     Further, I observed multiple images and videos of MV1 depicting MV1

   engaged in sexually explicit conduct with her genitals visible, including videos that

   appear to have been recorded by Lauless through Discord.

         N.     In these videos, a voice modulator is visible on the screen. Based on my

   observation, it appears in the videos that MV1 is listening to someone and acting on

   their instructions.

         O.     A description by this affiant of one of these videos is: MNML-October6-

   103422PM-1hbxwrtepcpqq.mp4 is a 13 minute video of MV1. She is speaking and

   listening to someone on screen. MV1 is fully clothed at the beginning. She initially

   removes her sweatshirt, then her pants and underwear. She then lays on her back

   with her vaginal area exposed directly in front of the camera. MV1 then rubs and

   inserts her fingers into her vaginal opening. This affiant knows MNML is a common

   screen recorder used on Android devices. The naming convention and artifacts lead

   this affiant to believe this video was recorded by Lauless on October 6, 2021 when

   MV1 was a resident of the Southern District of Indiana. At the end of the video, a

   Discord list of users can be seen. The highlighted username is the username of MV1.

   This indicates to this affiant that the video was recorded by the person with whom

   MV1 was communicating. Based on statements by MV1 and the fact that this video

   was found in a Google account believed to belong to Lauless, this affiant believes it

   is probable that Austin Lauless recorded and maintained the video. Further, I have

   reviewed the video and it constitutes a video depicting Minor Victim 1 engaged in

   sexually explicit conduct, and meets the federal definition of child pornography.



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      Additional Cybertips and Distribution of Sexually Explicit Images and
                                     Videos of MV1

         28.    Between October 2022, and May 2023, Indiana ICAC received at least 9

   Cybertips from the National Center for Missing and Exploited Children that include

   images and videos of MV1 engaged in sexually explicit content. These Cybertips

   originated from Internet Service Provider’s Twitter and Instagram. They include

   videos this affiant has also seen in the Google return for zer0graphicarts@gmail.com.

         29.    According to MV1, she produced the videos depicted in the Cybertips at

   the request/demand of “Apophis” (Lauless).           Lauless frequently threatened to

   distribute the images and videos she produced according to his demands on many

   occasions.

         30.    Additionally, I have observed still images of collage photos of MV1 with

   prices superimposed over on top of the collages.

         31.    The Zionsville Police Department has been contacted by multiple law

   enforcement agencies from multiple states reporting videos and images of MV1 in

   other offender’s collections. At least one offender has referenced MV1 by name. MV1

   is easily identifiable in some of the videos because the clothing she is wearing shows

   the school she attends.

         32.    Accordingly, I believe that Austin Lauless distributed the child

   pornography he produced, coerced/requested from MV1.




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                       Lauless Exploits Minor Victims 2 and 3

         33.    During this investigation, I learned of an existing investigation

   involving Austin Ryan Lauless in Michigan. On April 5, 2023, I spoke to Sergeant

   Joshua Thomas (“Sgt. Thomas”) of the Kent County, Michigan Sheriff’s Department.

         34.    Sgt. Thomas shared the following information via verbal communication

   and his agency’s report:

         35.    In April 2020 Sgt. Thomas conducted an investigation involving a minor

   female, herein referred to as Minor Victim 2 (MV2), who was born in 2003. According

   to MV2, in early 2020 when she was 17, she was communicating via Snapchat with a

   male who then asked to follow her on Instagram. During their chats, the male asked

   for one nude image of MV2 from “head to toe.” After MV2 sent an image, the male

   asked for more sexually explicit images and videos of MV2 and threatened to

   disseminate what he had already received if she didn’t comply.

         36.    MV2 estimated she produced approximately 20 sexually explicit

   images/videos at the male’s instructions and distributed the images and videos to him

   at his request.

         37.    According to MV2, the suspect’s Instagram and Snapchat usernames

   were breh_ur_fuct and formix_official, respectively.

         38.    According to Sgt. Thomas, he obtained authority to search the suspect’s

   user accounts listed above. The Instagram return breh_ur_fuct contained multiple

   images and videos on MV2 with her genitalia exposed. It also shows a subscriber




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   verified phone number of 817-404-8756. This is the same number as provided by

   Motel 6.

         39.    A search warrant issued to T-Mobile for 817-404-8756 showed the

   subscriber as Austin Lauless in Moulton, Texas.

         40.    In May 2020, after MV2 had blocked the suspect on all social media, a

   female family member of MV2 received an Instagram friend request for “Cason

   Fredrickson,” who stated he was an old friend of MV2.

         41.    Cason Fredrickson is the name used by the person that was

   communicating with MV1 on Instagram.

         42.    In September 2020, Sgt. Thomas spoke with Austin Lauless via

   telephone.   The interview was not recorded, and Lauless was not Mirandized.

   Lauless admitted communicating via Snapchat with MV2 and knowing she was a

   minor. Lauless further admitted to requesting nude photos from MV2. According to

   Lauless’ admissions, when MV2 wanted to stop sending sexually explicit images of

   herself, Lauless demanded more and threatened to share the images he had of her.

         43.    Additionally, I observed an image of an online order confirmation in the

   search warrant return of zer0graphicarts@gmail.com. The item ordered was a sex toy

   and showed a female’s name and partial address for delivery. Det. Beard was able to

   identify and locate the female, herein referred to as Minor Victim 3, who was born in

   2004, and lived in Florida at the time of the offenses.

         44.    On May 8, 2023, Det. Beard and I interviewed MV3 via Facetime and

   learned the following information: MV3, who is now 19 years’ old stated that she met



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   a male named “Cason” online using the YUBO app when she was 16 years old. Most

   of their communication was through Discord where “Cason’s” username was Apophis.

   Over the course of several months, “Cason” requested/demand dozens of sexually

   explicit images and videos of MV3. He sent MV3 a package containing fishnet

   stocking, thigh high stocking, a dildo, pacifiers and eyelashes and directed her wear

   various items and use the sex toy in various videos. This affiant has seen MV3 via

   FaceTime and recognizes her in multiple videos located in the google return of

   zer0graphicarts@gmail.com. These videos constitute child pornography under federal

   law.

                       Identification and Location of Lauless

          45.   This affiant knows Austin Lauless was on probation in Texas and

   residing in Joshua, Texas until his probation ended in March 2023. This affiant has

   information which leads me to believe Lauless has relocated to the State of Colorado.

                           Interstate Commerce and Venue

          46.   This affiant knows Snapchat, Discord, Yugo, Google and Instagram

   servers are not maintained in the State of Indiana, and the communications and

   content therefore travelled via interstate commerce.

          47.   After July 2022. Lauless’ conduct with Minor Victim 1, occurred in the

   Southern District of Indiana.




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         48.      Conclusion:   Based upon the contents of this Affidavit, there is

   probable cause to believe that Austin Ryan Lauless has committed the above listed

   offenses. I respectfully request that the Court issue a Criminal Complaint and Arrest

   Warrant for Austin Ryan Lauless charging him with the offenses listed above.




                                                     /s/ Darin Odier
                                                    Task Force Officer Darin Odier
                                                    Federal Bureau of Investigation
        Attested to by the applicant in accordance with the requirements of Fed. R.Crim P. 4.1

  by telephone.




       Dated: May 18, 2023
                                Mark J. Dinsmore
                                United States Magistrate Judge
                                Southern District of Indiana




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